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                        United States District Court
                                Northern District of Oklahoma


United States of America,

           Plaintiff,
V.



Richard Dale Deeter,Jr.,                                            Case No. 22-CR-l 15-CVE
Donald B. Pearson,
JONNA ElISA STEELE,
Johnny Wesley Sparks, a/k/a "J5,"
IZABELLA Marie Doling, a/k/a "Turbo,"
Nicole Cox, a/k/a "Nicole Michelle Jenner,"
a/k/a "Nicole Michelle Cox," a/k/a "Nicole Patterson,"

                         DEFENDANT'S WAIVER OF SPEEDY TRIAL


           Defendant acknowledges that she has a right to a speedy trial and that right has been
guaranteed to her by the Sixth Amendment to the United States Constitution and the Speedy
Trial Act, 18 U.S.C. § 3161. However, Defendant freely waives her right to a speedy trial and
requests that any trial delay be excluded from computation under the Speedy trial Act. Defendant
specially requests that the Court find that the ends ofjustice served by granting the continuance
outweigh the interest of the public and the Defendant in a speedy trial. Defendant specifically
requests that all delays from a continuance of her jury trial from July 11, 2022 to August 21,
2022 be excluded from computation under the Speedy Trial Act pursuant to 18 U.S.C. § 3161, et
seq.




                                              Respectfully submitted.



                                              Jonna Ensa Steele


                                              /S/ Richard D. White. Jr.
                                              Richard D. White, Jr., OBA #9549
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                                              918-599-7755
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                                              Attorney for Defendant, Jonna Elise Steele(3)




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                                                       CERTIFICATE OF SERVICE


           I hereby certify that on the                         day of May,2022,1 electronically transmitted the
foregoing document to the Clerk ofthe Court using the ECF System for filing and transmittal of
a Notice of Electronic Filing to the following ECF registrant:

David Nasar                                                 representing Plaintiff, USA

Reagan Vincent Reininger                                    representing Plaintiff, USA

Fred Randolph Lynn                                          representing Richard Dale Deeter, Jr.(I)

Clinton Reed James                                          representing Defendant, Donald B Pearson (2)

Scott Anthony Troy                                          representing Izabella Marie Holing (5)

Michael Wayne Noland                                        representing Nicole Cox (6)

                                                                          /S/ Richard D. White. Jr.




 Petition to Enter Plea of Guiltv and Order Enterine Plea                                                          CR-05 (8,
